Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 1 of 11 PageID# 127



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



  ESVIN GOMEZ.,

                            Plaintiff,                 Case No. 1:19-cv-01121-CMH-TCB

                 v.

  SEOUL GOOL DAE GEE INC,

                            Defendant.



   REPLY IN FURTHER SUPPORT OF PLAINTIFF’S MOTION FOR AN AWARD OF
                     ATTORNEYS’ FEES AND COSTS


        Defendant argues that Plaintiff’s attorneys’ fees claim should be substantially reduced.

 This is so, it says, because this was a simple case resolved in a matter of days, and because

 counsel obtained a poor recovery on Plaintiff’s behalf. Defendant also complains about

 purported deficiencies in Plaintiff’s counsel’s time records.

        Defendant’s argument relies on a highly misleading portrayal of this case. This matter

 took some six months to resolve and involved significant informal discovery and difficult legal

 and factual issues. Moreover, the sole basis for Defendant’s assertion that Plaintiff’s recovery

 was poor is that Plaintiff obtained less than his initial confidential settlement proposal. This

 argument is foreclosed by Federal Rules of Evidence 408, which prohibit use of settlement

 proposals to determine the value of a claim. And, even if that were not the case, the argument is

 unpersuasive—as any experienced litigator knows a party’s opening negotiating position is

 seldom a reasonable approximation of what that party expects to recover. Moreover, in this

 particular case Plaintiff’s priority was not to maximize his monetary recovery, but to obtain a
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 2 of 11 PageID# 128



 recovery as quickly as possible so that he could follow through on his plans to permanently leave

 this country before the end of this year.

           Defendant’s quibbles about Plaintiff’s counsel’s time records are meritless. Additionally,

 in applying the factors set out in Barber v. Kimbrell’s, Inc., 577 F. 2d 216 (4th Cir. 1978), the

 Court can consider the fact that the attractiveness of representing plaintiffs in cases of this type is

 reduced because of the possibility—realized in this case—that counsel will have to devote

 substantial uncompensated attorney time litigating a fee award.


 I.        PLAINTIFF’S LODESTAR IS PRESUMPTIVELY REASONABLE

           Plaintiff’s lodestar for this case establishes Plaintiff’s counsel’s “presumptively

 reasonable” fee. Lyle v. Food Lion, Inc., 954 F.2d 984, 989 (4th Cir. 1992). Plaintiff agrees that,

 if the attorney time devoted to this case was unreasonably excessive or if Plaintiff’s counsel

 obtained a recovery markedly less than what was reasonable, this Court may reduce the lodestar

 amount. But that is not the case here.


 II.       THIS WAS NOT A QUICK AND SIMPLE CASE

           Though small in monetary terms by the standards of federal litigation, this case was not

 simple.

           This case was effectively pending for six months—from April 2, 2019, when counsel

 advised Defendant of Plaintiff’s potential claim, through Plaintiff’s October 3 acceptance of the

 offer of judgment. Accompanying Additional Declaration of Matthew B. Kaplan ¶ 2. Although

 no formal case was pending before this Court for most of that period, Plaintiff’s counsel should

 be commended, not punished, for their good faith effort to reach a pre-litigation settlement

 which, had it succeeded, would have minimized the need to devote attorney time and judicial

 resources to this matter.

                                                     2
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 3 of 11 PageID# 129



        Moreover, while Defendant is correct that there was no “formal discovery” in this case,

 there was significant informal discovery, with Defendant producing some 240 pages of “paper”

 records plus voluminous Excel spreadsheet formatted data. Id. ¶ 3. Obtaining these documents

 from Defendant was not a simple or straightforward process, with considerable interaction

 between the attorneys for the two sides required to obtain the necessary information. Id.

        Nor was this case simple from a legal or factual perspective. Defendant initially

 produced paystubs, containing both time-worked and compensation paid information, which

 indicated that Plaintiff had worked substantial overtime. But Plaintiff’s counsel’s analysis of the

 numbers provided in those paystubs indicated that Plaintiff had been substantially overpaid for

 this overtime work. Additional Kaplan Decl. ¶ 4. Many FLSA plaintiff’s attorneys would not

 have further pursued this matter. Id. Counsel in this case, however, demanded (on threat of

 filing a lawsuit and invoking compulsory discovery procedures) that Defendant produce

 complete records from its timekeeping system. Id. An analysis of these records indicated that

 the time system records did not match the information on the paystubs. Id. This discrepancy

 may reflect an intentional effort by Defendant to conceal its violations of the FLSA, which are

 apparently systematic. Defendant, of course, would likely have argued that it reflected only poor

 recordkeeping.

        It is not settled under the FLSA how damages should be calculated in the unusual

 situation present here: the defendant made overtime payments, but those payments do not

 correspond to the actual overtime hours worked. Plaintiff’s counsel took the view in this case

 that Plaintiff’s weekly compensation should be deemed a salary and be divided by actual hours

 worked (as reported by the timekeeping system) to obtain a “regular rate” and that all overtime

 hours should then be paid at 1.5 times that rate. This was the methodology counsel used for



                                                  3
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 4 of 11 PageID# 130



 Plaintiff’s damages calculations. But these calculations were vulnerable to attack by Defendant

 on both factual and legal grounds. Defendant could, for example, have argued that the time

 keeping system was not accurate—in at least one case it clearly was not, as it incorrectly showed

 Plaintiff working a shift of more than 24 hours. Additional Kaplan Decl. ¶ 5. Defendant could

 also have argued that Plaintiff’s damages methodology was improper because it did not give it

 credit for payments made that had purportedly been made as overtime payments. While Plaintiff

 disagrees with these potential arguments, they might have prevailed.


 III.   PLAINTIFF WAS SUCCESSFUL ON HIS CLAIMS

        As an initial matter, Defendant’s reliance on Plaintiff’s proposals during confidential

 settlement negotiations to supposedly show that this was a poor settlement for Plaintiff is

 improper. Federal Rule of Evidence 408(a) provides that statements in settlement

 communications may not be used “either to prove or disprove the validity or amount of a

 disputed claim.” But Defendant would have the Court do exactly that—they use the settlement

 proposal to value this case and then say that, because Plaintiff received significantly less than

 that value, he received much less than what this case was worth.

        The purpose of Rule 408 “is promotion of the public policy favoring the compromise and

 settlement of disputes” by permitting “freedom of communication with respect to compromise.”

 Fed. R. Evid. 408 advisory committee’s note. The resolution of legal claims would be much

 more difficult if a party seeking to settle a claim knew that its statements about the value of its

 claim could be used against it in court. In few if any instances will FLSA cases settle for the

 amount of a Plaintiff’s initial proposal. Indeed, if such opening proposals are, as Defendant

 asserts, admissible to prove the value of a case, a defendant could almost always claim that the

 Plaintiff had limited success. The likely result would be that few settlement proposals would be


                                                   4
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 5 of 11 PageID# 131



 made. Moreover, plaintiffs’ attorneys in such cases would have a perverse incentive—

 inconsistent with the interests of their clients—to make lowball settlement offers.

        And, even if Defendant’s position was not foreclosed by Rule 408, a party’s settlement

 position cannot be deemed to be a reasonable proxy for the value of that case. See Va. Rules of

 Prof’l Conduct R. 4.1 cmt. 2. (“Under generally accepted conventions in negotiation, certain

 types of statements ordinarily are not taken as statements of material fact. Estimates of price or

 value placed on the subject of a transaction and a party’s intentions as to an acceptable settlement

 of a claim are in this category.”).

        Defendant cites Nelson v. Cowles Ford Inc., 77 Fed. Appx. 637, 644 (4th Cir. 2003) and

 E.E.O.C. v. Nutri/System, Inc., 685 F. Supp. 568 (E.D. Va. 1988), for the proposition that a court

 “may consider settlement offers” in determining reasonable fees. But those cases stand for the

 reasonable view that a court can look to a plaintiff’s settlement proposals, not to determine the

 value of a case, but to determine whether the plaintiff’s attorney sought to unfairly inflate his

 fees by unreasonably insisting on protracted litigation of a matter when doing so produced little

 benefit for his client. See Nelson, 77 Fed. Appx. at 644 (district court appropriately reduced fees

 because plaintiff lost on most of his claims and ultimately only “received damages equal to the

 amount of a pretrial settlement offer by [the defendant]”); Nutri/System, 685 F. Supp. at 577

 (“attorney, by pressing questionable claims and refusing to settle except on outrageous terms,”

 should not be allowed to “force a defendant to incur substantial fees which he later uses as a

 basis for his own fee claim,” but such conduct did not occur in that case). Plaintiff’s counsel

 here did not unduly prolong this litigation. Indeed, because his client was going to leave the

 country, they had a strong incentive to resolve this case as quickly as practicable.




                                                   5
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 6 of 11 PageID# 132



          Plaintiff has set forth facts supporting his view that $6,500 was a reasonable valuation for

 this case, assuming that it would be litigated to trial. Although Plaintiff’s damages

 calculations—provided during settlement discussions—suggested that more might be obtained,

 the methodology of these calculations could be challenged as could the accuracy of the

 underlying data. Defendant’s consistent position was that Plaintiff was paid for all of his

 overtime work and Plaintiff’s paystubs purported to support that assertion. Furthermore, the fact

 that Plaintiff’s paystubs indicated that overtime was paid would substantially support an

 argument by Defendant that any FLSA violations were in good faith and that, consequently,

 liquidated damages should not be awarded. Defendant does not dispute the accuracy of any of

 these points—and does not retract its position that Plaintiff would have recovered nothing at

 trial.

          Some additional points regarding Defendant’s argument are relevant. Defendant

 repeatedly emphasizes that Plaintiff’s initial confidential settlement letter proposed settling this

 case for $53,257.95. This is extraordinarily misleading. This demand was based on an error in

 Plaintiff’s initial calculations caused by an erroneous Microsoft Excel formula. Additional

 Kaplan Decl. ¶ 10. This error was apparent to Defendant because Plaintiff provided it with those

 calculations. Id. When Defendant pointed out this error, Plaintiff immediately retracted the

 offer. Id. There was no substantive discussion of settlement based on this offer and, based on

 the correct damages calculations, Plaintiff made a revised settlement offer of $16,265.90. Id.;

 Hwang Decl. Ex. B.

          Defendant also repeatedly emphasizes that this revised offer was presented as a final

 offer, with Plaintiff’s counsel indicating that he would not negotiate further prior to filing a

 lawsuit. Presumably Defendant means to suggest that Plaintiff was intransigent in his



                                                   6
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 7 of 11 PageID# 133



 negotiating position. But this proposal was in that form was because Defendant’s counsel urged

 Plaintiff’s counsel to make a best and final offer that he could convey to his client, apparently

 because Defendant’s counsel believed that such an offer was more likely to lead to the resolution

 of this case than a conventional negotiable proposal. Additional Kaplan Decl. ¶ 6. Plaintiff’s

 counsel would not have otherwise made this offer in this form as he generally does not find

 making such offers to be productive. Id. Defendant cannot now properly argue that such a

 settlement demand was inappropriate when it was Defendant’s attorney who requested an offer

 in that format. Moreover, Plaintiff’s counsel reasonably expected that, if that prelitigation offer

 was not accepted, additional settlement discussions (or an offer of judgment) were likely after a

 lawsuit was filed. Id.

        A further factor supporting the reasonableness of the amount of the Judgment against

 Defendant is that Plaintiff planned to soon leave the country and, for that reason, strongly

 preferred to avoid prolonged litigation and a trial. Defendant says that this is irrelevant. This is

 not so—Plaintiff’s counsel’s responsibility was not to extract every possible cent of damages

 from Defendant, but to obtain the result that best achieved his client’s objectives. See Va. Rules

 of Prof’l Conduct R. 1.2 cmt. 1 (“The client has ultimate authority to determine the purposes to

 be served by legal representation.”). Here, because of counsel’s success on his behalf, Plaintiff

 is now able to return to his family in his home country with $6,500 in his pocket, an amount

 substantially greater than the annual per capita income of that country’s citizens. From his

 perspective, this case was a marked success.


 IV.    DEFENDANT’S FURTHER QUIBBLES ARE MERITLESS

        Defendant makes several complaints about Plaintiff’s counsel’s time entries.




                                                   7
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 8 of 11 PageID# 134



        Defendant complains that counsel devoted too much time to work relating to a detailed,

 single spaced three page letter which fully laid out the basis for Plaintiff’s claims and proposed a

 settlement. Accompanying the letter (but not included with the copy provided to the court by

 Defendant) is a supporting 78-page spreadsheet. Additional Kaplan Decl. ¶ 9. It was appropriate

 to devote less than 2.5 hours of attorney time to these important documents.

        Defendant also complains that Plaintiff engaged in impermissible block billing,

 combining unrelated tasks into a single time entry. But an examination of the time entries cited

 (but not quoted) by Defendant indicates that this is not so. For example, Defendant asserts that

 the entry identified by sort number 13175, which totals twelve minutes and which reads “Speak

 to client. Record notes of conversation” is block billing. It is not—Plaintiff’s counsel was not

 required to separately record how much time he spent speaking to his client and then how much

 additional time he spent finalizing his notes of that conversation, especially since the entire event

 took less than a quarter-hour. 1

        Defendant also misleadingly quotes a snippet of a lengthy time entry, no. 14167, relating

 to the drafting of the Complaint, to suggest that the entire entry relates to a claim that was not

 included in the complaint. The entire entry reads as follows: “Review modify and file draft

 complaint; related research regarding potential claims including potential claim for filing false

 information with IRS which I decided not to make; related communication and telephone

 conversation with client.” It was appropriate—indeed it was an obligation of competent

 counsel—to at least consider whether claims other than FLSA violations should be included in

 the Complaint. The time devoted to consideration of these alternative claims was minimal in the



 1
   Another example: Defendant says that entry 13088, which reads “Initial meeting with client
 record notes of conversation” is a block entry. It is not.


                                                   8
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 9 of 11 PageID# 135



 context of preparing the complaint. 2 The assertion that this entire time entry must be voided is

 unsupportable.


 V.      POTENTIAL UNCOMPENSATED FEE LITIGATION MAKES THESE CASES
         LESS ATTRACTIVE

         One of the Kimbell factors that this Court is to analyze when deciding a fee request is

 “the undesirability of the case within the legal community.” Wells Fargo Bank, N.A. v. Walls,

 No. 1:12-cv-664, 2013 U.S. Dist. LEXIS 57415, *5-7 (E.D. Va. Mar. 4, 2013). As Plaintiff

 noted in his opening memorandum, a factor making matters such as this one less attractive than

 would otherwise be the case is that experienced counsel know that they may end, as this case did,

 with a plaintiff accepting an offer of judgment which prevents plaintiff’s counsel from being

 compensated for what may be—as has turned out to be the case here—relatively extensive

 litigation over fees.

         In this case counsel for Defendant warned Plaintiff’s counsel that his client would

 vigorously litigate fees if counsel did not accept what, in Plaintiff’s counsel’s view, was a very

 lowball offer to resolve counsel’s fee claim. Additional Kaplan Decl. ¶ 8. Plaintiff’s counsel did

 not accept that offer and Defendant has vigorously litigated fees. Consequently, counsel have

 expended considerable uncompensated attorney time in preparing their initial filing on fees and

 this Reply. Defendant is, of course, fully entitled to litigate fees. But, under the Kimbrell

 factors, in making its fees determination, this Court can take into account the reality that it is

 known that, in these type of cases, what happened here—extensive uncompensated work by




 2
  In any event, research relating to a possible claim arising from Defendant’s failure to withhold
 employer-side taxes constituted only a small portion of the time set out in this time entry, likely
 no more than fifteen minutes. Additional Kaplan Decl. ¶ 7.

                                                   9
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 10 of 11 PageID# 136



 Plaintiff’s counsel on fees issue—might happen, and that this reduces the attractiveness of such

 cases within the legal community.


 VI.     REQUESTED COSTS SHOULD BE AWARDED

         Defendant does not dispute that Plaintiff should be awarded his costs, which consists of

 only of the filing fee in this case.


 VII.    CONCLUSION

         The Court should award the requested fees and costs.




  Dated: November 27, 2019



                                              Respectfully submitted,

                                              By        /s/Matthew B. Kaplan
                                              Matthew B. Kaplan
                                              VSB No. 51027
                                              The Kaplan Law Firm
                                              509 N. Jefferson St.
                                              Arlington, VA 22205
                                              Telephone: (703) 665-9529
                                              Fax: (888) 958-1366
                                              Email: mbkaplan@thekaplanlawfirm.com
                                              Counsel for Plaintiffs

                                              Lenore C. Garon
                                              VSB No. 39934
                                              Law Office of Lenore C. Garon, PLLC
                                              2412 Falls Place Court
                                              Falls Church, VA 22043
                                              Telephone: (703) 534-6662
                                              Email: lenore@lenorecgaron.com
                                              Counsel for Plaintiffs




                                                 10
Case 1:19-cv-01121-CMH-TCB Document 15 Filed 11/27/19 Page 11 of 11 PageID# 137




                                      Certificate of Service

        I hereby certify that, on the date indicated below, the foregoing document (and any
 attachments or accompanying documents) was served via the Court’s CM/ECF System on
 counsel for all parties who have appeared in this matter.




                                              /s/ Matthew B. Kaplan
                                             Matthew B. Kaplan

                                             Dated: November 27, 2019




                                                11
